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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY
                          CAMDEN VICINAGE

 ASSOCIATION OF NEW JERSEY RIFLE
 & PISTOL CLUBS, INC., BLAKE                        HON. RENÉE M. BUMB
 ELLMAN, and MARC WEINBERG,

      Plaintiffs,                                        Civil Action No.
                                                          1:18-cv-10507
 v.

 MATTHEW PLATKIN, in his official                (ELECTRONICALLY FILED)
 capacity as Attorney General of New Jersey,
 PATRICK J. CALLAHAN, in his official
 capacity as Superintendent of the New            ORDER EXTENDING STAY
 Jersey Division of State Police,                    PENDING APPEAL
 RYAN MCNAMEE, in his official capacity
 as Chief of Police of the Chester Police
 Department, and
 JOSEPH MADDEN, in his official capacity
 as Chief of Police of the Park Ridge Police
 Department,

      Defendants.


 MARK CHEESEMAN, TIMOTHY                            HON. RENÉE M. BUMB
 CONNELLY, and FIREARMS
 POLICY COALITION, INC.,
                                                         Civil Action No.
      Plaintiffs,                                         1:22-cv-4360

 v.

 MATTHEW J. PLATKIN, in his
 official capacity as Acting Attorney
 General of New Jersey, PATRICK J.
 CALLAHAN, in his official capacity
 as Superintendent of the New Jersey
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 State Police, ELIZABETH PARVIN, in her
 official capacity as Acting Gloucester
 County Prosecutor, and BRADLEY D.
 BILLHIMER, in his official capacity as
 Ocean County Prosecutor,

      Defendants.


 BLAKE ELLMAN, THOMAS R.
 ROGERS, and ASSOCIATION OF
 NEW JERSEY RIFLE & PISTOL                            HON. RENÉE M. BUMB
 CLUBS, INC.,

      Plaintiffs,                                          Civil Action No.
                                                            1:22-cv-4397
 v.

 MATTHEW J. PLATKIN, in his
 official capacity as Attorney
 General of New Jersey, PATRICK J.
 CALLAHAN, in his official capacity
 as Superintendent of the New Jersey
 Division of State Police, LT. RYAN
 MCNAMEE, in his official capacity as
 Officer in Charge of the Chester Police
 Department, and KENNETH BROWN, JR.,
 in his official capacity as Chief of the Wall
 Township Police Department,

      Defendants.



                    ORDER GRANTING JOINT MOTION FOR
                           EXTENSION OF STAY
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      1. This Court is in receipt of the parties’ joint motion for an extension of the

stay of judgment currently in place in this matter pending appeal.

      2. For the reasons given therein, this Court GRANTS the motion.



                                             _____________________________
                                             Renée Marie Bumb,
                                             Chief U.S. District Judge
DATED: August 21, 2024
